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                IN THE UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF GEORGIA

 DEBORAH LAUFER,
 Individually,

 Plaintiff,

 v.                                         Case No. 1:20-cv-85

 NARAYAN ALBANY HOTEL LLC,

 Defendant.

                           NOTICE OF SETTLEMENT

       Plaintiff, Deborah Laufer, by and through her undersigned counsel, hereby

advises the Court that the parties have reached an agreement in principle to resolve

this dispute. The parties are finalizing settlement and dismissal documents and

expect to file the dismissal papers within thirty (30) days.

/s/ Tristan W. Gillespie
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